                UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                  CASE NO. 1:20-cv-00954-WO-JLW

 FARHAD AZIMA,

                    Plaintiff,
                                             DEFENDANTS’ REPLY IN
   v.
                                            SUPPORT OF MOTION TO
 NICHOLAS DEL ROSSO and                       QUASH AND MOTION
 VITAL MANAGEMENT SERVICES,                 FOR PROTECTIVE ORDER
 INC.,                                      REGARDING PLAINTIFF’S
                                            SUBPOENA TO AMERICAN
                    Defendants.                   EXPRESS.


        This Reply Memorandum is submitted in support of Defendants Nicholas

Del Rosso and Vital Management Services, Inc. (“Defendants”) Motion to

Quash and Motion for Protective Order regarding Plaintiff Farhad Azima’s

(“Plaintiff”) subpoena to American Express (“Amex”) (D.E. 154) and Plaintiff’s

Opposition to that Motion (D.E. 171).

                                 INTRODUCTION

        Despite Plaintiff’s attempt to paint Defendants’ resistance to his

sweeping discovery tactics as “unusual,” the only thing that is unusual here is

Plaintiff’s purported need for information well beyond the remaining scope of

his case. While Defendants will refrain from a full recitation of their position

on the scope of this case, which has been briefed extensively at this point (see,

e.g., D.E. 155; D.E. 159), the highlights bear repeating: this Court summarily

dismissed all but two of Plaintiff’s claims—a North Carolina Misappropriation

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of Trade Secrets claim (Count VIII) and a dependent North Carolina civil

conspiracy     claim     (Count     X)   (collectively,    the    “Remaining       Claims”).

Furthermore, the Court significantly limited the scope of conduct which could

support the Remaining Claims. (D.E. 65, pp.22–24).

       Throughout the pendency of this matter, Plaintiff has issued repeated

salvos of overbroad and disproportionate subpoenas, all in an effort to discover

information for use in his unrelated cases currently pending in other

jurisdictions and countries1. Recently, Plaintiff’s tactics were put on full

display when he deposed Defendant Del Rosso for seven hours and did not ask

a single question about the purported republication of Plaintiff’s data. (See

D.E. 179). This approach is true to form for Plaintiff as, to date, not a single

one of his discovery requests have even feigned recognition of the operative

claims, facts, or dates in this matter, thus necessitating Defendants’ continued

opposition to these improper discovery tactics.

       Plaintiff’s subpoena to Amex (the “Subpoena”) is yet another iteration of

Plaintiff’s discovery strategy. Notwithstanding the Court’s admonition that the




1 Plaintiff has multiple other related matters pending in other jurisdictions, including but
not limited to Azima, et al. v. Dechert LLP, et al., Case No. 1:22-cv-08728-PGG (S.D.N.Y. filed
October 13, 2022) (the “SDNY Matter”), where discovery has yet to commence. On January
18, 2023, the Hon. Paul G. Gardephe stayed discovery in the S.D.N.Y. Matter “pending
resolution of Defendants’ motions to dismiss.” Azima, et al. v. Dechert LLP, et al., Case No.
1:22-cv-08728-PGG, at D.E. 104 (S.D.N.Y. Jan. 18, 2023). Plaintiff should not be allowed to
serve discovery here, seeking information unrelated to his Remaining Claims, in what
appears to be an end-run around the scheduling in the SDNY Matter.

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parties “work cooperatively in discovery regarding disputes on the scope of

discovery[.]” (D.E. 93, p.2 & n.1), Plaintiff persists in his efforts to abuse the

discovery process. Therefore, Defendants’ Motion should be granted, quashing,

or modifying the Subpoena, or otherwise entering a protective order

commanding the same.

                                 ARGUMENT

I.    DEFENDANTS          HAVE      STANDING        TO    CHALLENGE         THE
      SUBPOENA.

      Much like he has done in other instances when Defendants have resisted

Plaintiff’s attempts to gain unfettered access to accounts and other information

without any limits or focus on the remaining claims of the case, Plaintiff

devotes a whole section of his response to debating Defendants’ standing to

challenge the Subpoena. (D.E. 171 pp.3–4; see also D.E. 125, pp.8–11). But as

previously set out in other similar filings (see, e.g., D.E. 132, pp.6–7), Fourth

Circuit courts have held that a party at the least has standing to challenge a

third-party subpoena under Rule 26 as irrelevant and overbroad regardless of

whether he or she has standing under Rule 45.            See, e.g., Nallapaty v.

Nallapati, 2022 WL 1508885, at *4 (E.D.N.C. May 12, 2022); Kappel v. Garris,

2020 WL 707123, at *2 (D.S.C. Feb. 12, 2020); Brown v. Mountainview Cutters,

LLC, 2016 WL 3045349, at *2 (W.D. Va. May 27, 2016). Plaintiff’s arguments

otherwise are unavailing.


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       Moreover, this Court is empowered to quash or otherwise limit the

Subpoena pursuant to Rule 26(b)(2)(C), which provides that, “[o]n motion or on

its own, the court must limit the frequency or extent of discovery . . . if it

determines that . . . the proposed discovery is outside the scope permitted by

Rule 26(b)(1).”   Fed. R. Civ. P. 26(b)(2)(C)(iii) (emphasis added).       Thus,

pursuant to Rule 26, Defendants are well within their rights to challenge—and

the Court is well within its power to quash or otherwise limit—the Subpoena

which seeks information well outside the permissible scope of discovery.

II.    PLAINTIFF’S SUBPOENA BEGS A STRAINED READING OF
       THE REMAINING CLAIMS AND MUST BE QUASHED OR
       SUBSTANTIALLY NARROWED.

       A.    The Subpoena Is Overbroad And Ignores The Scope Of The
             Remaining Claims In This Matter.

       It is well settled that a subpoena must have a relevant subject matter

limitation and otherwise be limited to the operative claims and defenses of a

case. Nallapaty v. Nallapati, 2022 WL 1508885, at *4 (E.D.N.C. May 12, 2022)

(citing Moore v. DAN Holdings, Inc., 2013 WL 1833557, at *11 (M.D.N.C. Apr.

30, 2013)). Notably, this includes limiting the subpoena to the “relevant time

period” of the case. See id. at *5; Champion Pro Consulting Grp., Inc. v. Impact

Sports Football, LLC, 2014 WL 6686727 (M.D.N.C. Nov. 26, 2014) (citing

Innovative Therapies, Inc. v. Meents, Civ. A. No. DKC 12–3309, 2014 WL

858651, at *17 (D.Md. Mar. 4, 2014) (unpublished)). On its face, Plaintiff’s


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Subpoena fails in both regards—it is both overbroad in temporal scope and as

to subject matter. Yet when Defendants pointed out these deficiencies by

reminding Plaintiff of the limited scope of his remaining claims, (D.E. 155,

pp.2–4), Plaintiff simply branded Defendants’ arguments as “disingenuous.”

(D.E. 171, p.4). To the contrary, Defendants’ position is firmly rooted in the

Court’s order (D.E. 65), which Plaintiff has apparently chosen to ignore as he

continues in his pursuit for information irrelevant in this case, presumably in

furtherance of other pending matters in other jurisdictions.

      The Subpoena is facially overbroad, not reasonably calculated to lead to

the production of admissible evidence and is disproportionate to the remaining

claims. Instead of narrowing its focus, Plaintiff continues his broadside

approach to discovery by, among other things, seeking information spanning

three years before and two years after the expressly stated years for the

remaining events at the focus of this matter. (D.E. 155, p.4) (quoting Plaintiff’s

Subpoena). If that were not enough, Plaintiff goes on to aggregate six years of

credit card payments, along with a heavy dose of rounding up—to the tune of

hundreds of thousands of dollars—in an attempt to shoehorn this overbroad

request into relevant and proper discovery. When Defendants objected to this

tactic, Plaintiff only offered baseless accusations without any supporting

evidence. (D.E. 171, p.5) (“[A]lmost $2 million paid to Amex, much or most of



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which likely came directly from RAK in payments that are temporally

connected to the conspiracy.”).

      Moreover, Plaintiff attempts to cite to the Order and Recommendation

of United States Magistrate Judge (“Order and Recommendation,” D.E. 54) to

justify its seeking of bank records spanning back to 2014. (D.E. 171, p.5).

However, Plaintiff appears to purposefully not include the full cited sentence,

which states: “Such documents may have some bearing on Plaintiff’s civil

conspiracy claim (for which the undersigned has not recommended dismissal)

insofar as Plaintiff has alleged a conspiracy between Defendants and Dechert

LLP.” (D.E. 54, at p.38) (emphasis added). In the District Court Judge’s

subsequent Memorandum Opinion and Order (D.E. 65), the Court found these

allegations against Dechert LLP to be time-barred. (D.E. 65, at pp.23–24.)

      B.    The Subpoena is Not Narrowly Tailored Or Likely to
            Produce Admissible Evidence.

      Not only does the Subpoena fail to focus on the narrow scope of this case,

but it also declines to even attempt at restricting itself to potentially relevant

inquires. Indeed, the Subpoena neglects to distinguish possible use and

payments by Defendants from that of unrelated parties such as Del Rosso’s

wife and family. As detailed further in the Motion, VMS maintains a business

Amex account for payment of business expenses, and Del Rosso and his wife

maintain a personal Amex account for their familial expenses. (D.E. 155, pp.8–


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10). Plaintiff would have the court grant unfettered access into all of this and

more, thus permitting Plaintiff an unrestricted fishing expedition into the

personal finances of Mr. Del Rosso’s family and other non-parties. This is

simply improper. See Virginia Dep't of Corr. v. Jordan, 921 F.3d 180, 189 (4th

Cir. 2019).

      Curiously, Plaintiff also claims that narrowing the scope of its Subpoena

would somehow increase the burden compliance would impose on Amex, which,

Plaintiff states, would presumably bring the request into the scope of Rule

45(d)(1)’s prohibitions. (D.E. 171, p.6). If true, this is more of a reflection upon

the overall Subpoena’s viability than on Defendants’ requested relief. If

narrowing a request to comply with the actual operative timeframe and claims

of the case would make the Subpoena “significantly burdensome and

improper,” then it is no solution to instead allow Plaintiff unrestricted access

to a wide array of overly broad and irrelevant information. Amex’s “lack of

institutional knowledge” about the case (D.E. 171, p.6) does not allow Plaintiff

a carte blanche excuse to fish through as much of Defendants’ information as

it chooses, regardless of scope, relevancy, or any other improper purposes

Plaintiff desires.




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        C.    The Overly Broad Subpoena Risks Implicating Complex
              Issues of Privilege and Other Rights and Protections.

        While Plaintiff cries foul on Defendants’ assertions that the Subpoena

may implicate matters of privilege, he conveniently misses the point. Plaintiff’s

Subpoena is so massively overbroad and infirm that it runs the very real risk

of involving many of these issues. The sheer lack of any subject matter,

timeframe, or related limitations renders the Subpoena a clear fishing

expedition which the Court should not permit. Defendants are not asserting

privilege claims in the entirety of the records themselves, rather, they are

pointing out the fact that the all-encompassing request has not limited itself

to the narrow focus of the case and thus, privilege issues may arise with certain

payments.

III.    PLAINTIFF SHOULD NOT BE PERMITTED TO USE
        DISCOVERY HERE AS A PROXY TO LITIGATE UNRELATED
        CLAIMS ELSEWHERE.

        Behind the curtain of the Subpoena, and the others which Defendants

have similarly objected to, is that Plaintiff is presumably maintaining its

course of seeking discovery in other matters, including those where the court

has stayed discovery or where discovery has yet to begin. See, e.g., Azima, et

al. v. Dechert LLP, et al., Case No. 1:22-cv-08728-PGG, at D.E. 104 (S.D.N.Y.

Jan. 18, 2023) (staying discovery “pending resolution of Defendants’ motions

to dismiss.”). Plaintiff should not be permitted to use this matter as a vehicle


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to circumvent orders and processes in other courts. Oppenheimer Fund, Inc. v.

Sanders, 437 U.S. 340, 364 n.17 (1978) (noting that “when the purpose of a

discovery request is to gather information for use in proceedings other than the

pending suit, discovery is properly denied”). Therefore, this Court should

quash or otherwise limit the Subpoena as to ensure Plaintiff is focused on this

matter and its remaining claims alone.

                               CONCLUSION

      For the reasons discussed herein, Defendants respectfully request that

the Court enter an Order quashing or modifying the Subpoena or otherwise

enter a Protective Order commanding the same, and for an interim Order

directing that any production by Amex pursuant to the Subpoena either be (a)

stayed pending resolution of the Motion; or (b) made to the Court—not the

Parties—to be held in camera until the Motion is decided.




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       Respectfully submitted, this the 28th day of February.

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                       CERTIFICATE OF SERVICE

       I hereby certify that on this 28th day of February 2023, I electronically
filed the foregoing document with the Clerk of the Court using the CM/ECF
system, which will send electronic notification of filing to the following:

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                     WORD COUNT CERTIFICATION

      Pursuant to Local Rule 7.3(d)(1), I hereby certify, subject to Fed. R. Civ.

P. 11, that the accompanying brief contains 1,905 words, according to the word

count feature of the word processing system used to prepare the brief.

Accordingly, the brief does not exceed the word limitation.

      Respectfully submitted this 28th day of February, 2023.

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